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      Counsel for the United States
 2    P.O. Box 129
      Alameda, CA 94501
 3
      Telephone: (510) 523-4702
 4    Facsimile: (510) 747-1640

 5    Attorney for Plaintiff
      United States of America
 6

 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                 SAN FRANCISCO DIVISION

11    UNITED STATES OF AMERICA,
                                                     Case No. C99-01750 M
12                               Plaintiff,

13                        v.

14    YAMINA JOHNSON
      aka YAMINA L. ROLAND,
15                                                   WRIT OF CONTINUING
                                 Defendant,          GARNISHMENT
16                        and

17    WELLS FARGO BANK,

18                         Garnishee.
      _______________________________/
19

20    TO:   Payroll Department
            WELLS FARGO BANK
21          1525 West WT Harris Boulevard
            Charlotte, NC 28262-8522
22

23          YOU ARE HEREBY COMMANDED TO GARNISH FOR THE BENEFIT OF

24    THE UNITED STATES OF AMERICA THE WAGES, SALARY, OR COMMISSION IN

25    YOUR CUSTODY, CONTROL, OR POSSESSION IN WHICH THE DEFENDANT-

26    JUDGMENT DEBTOR HAS AN OWNERSHIP INTEREST.

27          The name, SSN XXX-XX-5901, and last known address of the person who is

28    the defendant-judgment debtor (hereinafter “debtor”) in this action and whose property
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 1    is subject to this Writ are as follows:

 2             YAMINA JOHNSON aka YAMINA L. ROLAND
               3749 N. Purdue Avenue
 3             Fresno, CA 93727

 4             This Writ has been issued at the request of the United States of America to

 5    enforce the collection of a civil judgment entered in favor of the United States against

 6    the debtor for a defaulted student loan in the amount of $14,401.50. There is a

 7    balance of $21,093.65 due on the judgment, which amount includes costs and interest

 8    computed through June 17, 2019; interest continues to accrue u ntil paid in full.

 9             The following are the steps that you must take to comply with this Writ. If you

10    have any questions, you should consult with your attorney.

11             1. Pursuant to 28 U.S.C. § 3205(c)(2)(F), if you have in your custody, control,

12    or possession any property of the debtor, including wages, salary, or commissions, in

13    which the debtor has a substantial nonexempt interest, or if you obtain custody,

14    control, or possession of such property while this Writ is in effect, you must

15    immediately withhold such property from the debtor and retain it in your possession

16    until you receive instructions from the Court which will tell you what to do with the

17    property. The United States has requested that the sum of 25% of the debtor’s

18    disposable earnings, which under California law represents the nonexempt portion of

19    the debtor’s earnings, be withheld from the defendant’s earnings.

20             2. Pursuant to 28 U.S.C. § 3205(c)(2)(E), you are required to answer this Writ

21    within 10 days after service of this Writ upon you. You must answer the Writ even if

22    you do not have in your custody, control, or possession any property of the debtor.

23    Pursuant to 28 U.S.C. § 3205(c)(4), your answer must state, under oath, the following

24    information:

25             a.       Whether or not you have in your custody, control, or possession, any

26                      property owned by the debtor in which the debtor has a substantial

27                      nonexempt interest, including nonexempt, disposable earnings;

28
      Writ of Continuing Garnishment cand C99-01750 M                                            2
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 1             b.       a description of such property and the value of such property;

 2             c.       a description of any previous garnishments to which such property is

 3                      subject and the extent to which any remaining property is not exempt;

 4                      and

 5             d.       the amount of the funds you anticipate owing to the debtor in the future

 6                      and whether the period for payment will be weekly or another specified

 7                      period.

 8    For your convenience, a form which addresses the above-requested information is

 9    attached and may be used to Answer the Writ.

10             3. After you complete the answer under oath, pursuant to 28 U.S.C. §

11    3205(c)(2)(E) & (c)(4), within ten (10) days after service of this Writ upon you, you

12    must mail or deliver the original Answer bearing the original signature of the person

13    preparing the answer to the Court at the following address:

14                      Civil Clerk, United States District Court
                        450 Golden Gate Avenue, 16th Floor
15                      San Francisco, CA 94102

16    At the same time that you mail or deliver the original answer to the Court, you must

17    also mail or deliver a copy of the original Answer to both the debtor and attorney for

18    the United States at the following respective addresses:

19    YAMINA JOHNSON aka YAMINA L. ROLAND
      3749 N. Purdue Avenue
20    Fresno, CA 93727

21    Michael Cosentino, Counsel for the United States
      P.O. Box 129
22    Alameda, CA 94501

23    Please note that the attached form Answer contains a certificate of service which

24    needs to be completed by the person mailing the copies of the answer to the debtor

25    and the attorney for the United States, and which needs to be filed along with the

26    Answer.

27             IF YOU FAIL TO ANSWER THIS WRIT OR FAIL TO WITHHOLD PROPERTY

28
      Writ of Continuing Garnishment cand C99-01750 M                                              3
     Case 3:99-cv-01750-MAG Document 21-1 Filed 06/18/19 Page 4 of 10



 1    IN ACCORDANCE WITH THIS WRIT, THE UNITED STATES MAY PETITION THE

 2    COURT FOR AN ORDER REQUIRING YOU TO APPEAR BEFORE THE COURT TO

 3    ANSWER THE WRIT AND TO WITHHOLD PROPERTY IN ACCORDANCE WITH

 4    THE WRIT BEFORE THE APPEARANCE DATE. IF YOU FAIL TO APPEAR OR DO

 5    APPEAR AND FAIL TO SHOW GOOD CAUSE WHY YOU FAILED TO COMPLY

 6    WITH THIS WRIT, THE COURT WILL ENTER A JUDGMENT AGAINST YOU FOR

 7    THE VALUE OF THE DEBTOR’S NONEXEMPT INTEREST IN SUCH PROPERTY

 8    (INCLUDING NONEXEMPT DISPOSABLE EARNINGS). THE COURT MAY ALSO

 9    AWARD A REASONABLE ATTORNEY’S FEE TO THE UNITED STATES AND

10    AGAINST YOU IF THE WRIT IS NOT ANSWERED WITHIN THE TIME SPECIFIED

11    HEREIN AND IF THE UNITED STATES FILES A PETITION REQUIRING YOU TO

12    APPEAR.

13
      SUSAN Y. SOONG, Clerk
14    United States District Court
      for the Northern District of California
15

16            9/3/2019
      Dated: _____________                              By:
                                                              Deputy Clerk
17                                                                    Mark Romyn

18

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      Writ of Continuing Garnishment cand C99-01750 M                              4
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 1
      DO NOT WITHHOLD THE EXEMPT PORTION OF THE EMPLOYEE'S EARNINGS
 2
            1. Earnings include any money (whether called wages, salary, commissions,
 3    bonuses, or anything else) paid for personal services, pension, or retirement.
      Vacation or sick pay is earnings subject to withholding as it is received by the
 4    employee.

 5            2. Disposable earnings are different from gross pay or take-home pay. They
      are the earnings left after deducting the part which state or federal law requires an
 6    employer to withhold as mandatory deductions. Generally, these mandatory
      deductions are federal income tax, social security (FICA) tax, state income tax, state
 7    disability insurance, and payments to public employee retirement systems.
      Disposable earnings can change from pay period to pay period, whenever gross pay
 8    or required deductions change.

 9           To determine earnings that1 are eligible for withholding, and therefore must be
      withheld, see the chart below.
10
      USE THE CHART BELOW TO DETERMINE NONEXEMPT DISPOSABLE
11    EARNINGS AND THE APPLICABLE WITHHOLDING AMOUNT1 :

12    Pay Period: Weekly or                            Every 2                      Twice a            Once a
                  oftener                              weeks                        month              month
13

14    Disposable $ 0 to                                $ 0 to                       $ 0 to             $ 0 to
      earnings: $217.50                                $435.00                      $471.25            $942.50
15
      Withhold:            Nothing (entire earnings are exempt)
16

17
      Disposable $217.51 to                            $435.01 to                   $471.26 to         $942.51 to
18    earnings: $290.00                                $580.00                      $628.33            $1,256.67

19    Withhold:            Amt. over                   Amt. over                    Amt. over          Amt. over
                           $217.50                     $435.00                      $471.25            $942.50
20

21
      Disposable $290.01                               $580.01                      $628.34            $1,256.68
22    earnings: or more                                or more                      or more            or more

23    Withhold:            25% of disposable earnings (balance is exempt)

24

25

26

27
               1
                   Based on the Federal Minimum Wage Earnings of $7.25 an hour, effective 07/24/2009
28
      Writ of Continuing Garnishment cand C99-01750 M                                                               5
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 7

 8                        IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,        )
                                       ) Case No. C99-01750 M
12                          Plaintiff, )
                                       )
13                     v.              )
                                       )
14    YAMINA JOHNSON                   )
      aka YAMINA L. ROLAND,            )
15                          Defendant, )
                                       )
16                          and        )
                                       )
17    WELLS FARGO BANK,                ) ANSWER OF GARNISHEE
                                       )
18                          Garnishee. )
       ________________________________)
19

20         I, _______________________, being first duly sworn, hereby state the following:

21         1. I am the ____________________________ (Of ficial Title) of the Garnishee

22    named in the above caption. I am authorized to prepare this Answer on behalf of the

23    Garnishee.

24         2. The Garnishee was served with the Writ of Continuing Garnishment on

25    ____________________ (date) in this action.

26         3. The Garnishee currently has custody, control, or possession of earnings of

27    the Defendant. Yes____ No____

28         4. The Garnishee expects to obtain custody, control, or possession of earnings
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 1    of the Defendant in the foreseeable future. Yes____ No____

 2         5. For the pay period in effect on the date of service of this Writ of Continuing

 3    Garnishment, the Garnishee states as follows:

 4         a.     Defendant was in my/our employ. Yes____ No____

 5         b.     The Defendant’s pay period is ____ weekly, ____ bi-weekly,

 6                ____ semi-monthly, ____ monthly.

 7         c.     The Defendant’s present pay period began on _______________ (date).
                  (“Present” means the pay period in which the Writ of Continuing
 8                Garnishment was served.)

 9         d.     The Defendant’s present pay period ends on ________________ (date).

10         e.     The Defendant’s net wages are as calculated below:

11                       (1) Gross Pay                             $______________

12                       (2) Federal income tax       $______________

13                       (3) F.I.C.A. tax             $______________

14                       (4) State income tax         $______________

15                       (5) SDI                      $______________

16                                       Total tax withholdings    $______________

17
                  Net Wages                                        $______________
18                (gross pay minus above withheld taxes)

19
           6. Are there any other garnishments currently in effect? Yes ____ No ____
20
      If the answers is yes, describe below and attach to this Answer a copy of each
21
      garnishment:
22
      ____________________________________________________________________
23
      ____________________________________________________________________
24
      ____________________________________________________________________
25
           7. Will the Garnishee owe the Defendant money in the foreseeable future?
26
      Yes ____ No____      If the answer is yes, provide the reason why such money will be
27
      owed, the amount of money that will be owed, and the date or dates on which each
28
                                                                                               2
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 1    payment will be due:

 2
      Type of                                                               Date Payment
 3    Payment                                 Amount                        Will be Due

 4    1.________________________              _____________                 _____________

 5    2.________________________              _____________                 _____________

 6    3.________________________              _____________                 _____________

 7         8. Does the Garnishee currently have custody, control or possession of property

 8    (other than earnings) such as bank accounts, pensions, thrift plans, etc., in which the

 9    Defendant maintains an interest? Yes____ No____ If the answer is yes, then

10    provide the following information for each item of such property:

11
      Description of                          Approximate                   Description of
12    Property                                Value                         Defendant’s Interest

13    1.________________________              _____________                 _____________

14    2.________________________              _____________                 _____________

15    3.________________________              _____________                 _____________

16    4.________________________              _____________                 _____________

17         9. Does the Garnishee expect to obtain in the foreseeable future custody,

18    control or possession of property (other than earnings) such as bank accounts,

19    pensions, thrift plans, etc., in which the Defendant maintains an interest? Yes____

20    No____ If the answer is yes, then provide the following information for each item of

21    such property:

22                                                                                Date Will
      Description of            Approximate          Description of               Obtain
23    Property                  Value                Defendant’s Interest         Property

24    1.

25    2.

26    3.

27    4.

28

                                                                                                3
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 1         10. Does the Garnishee have any objections or defenses to the Writ of

 2    Continuing Garnishment? Yes____ No____ If the answer is yes, list the nature

 3    and basis of each objection and/or defense:

 4    ____________________________________________________________________

 5    ____________________________________________________________________

 6    ____________________________________________________________________

 7    ____________________________________________________________________

 8    ____________________________________________________________________

 9         On behalf of WELLS FARGO BANK, I hereby certify under penalty of perjury

10    under the laws of the United States of America that the foregoing is true and correct.

11

12    Telephone #______________________

13

14    Fax #        ______________________

15

16

17    Dated: ______________                   By: _____________________________

18
                                              (Sign above and type or print name below)
19

20

21

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     Case 3:99-cv-01750-MAG Document 21-1 Filed 06/18/19 Page 10 of 10



 1                                  CERTIFICATE OF SERVICE

 2         I, ______________________________, declare:

 3         That I am a citizen of the United States and employed in the County of

 4    __________________, North Carolina; that m y business address is

 5    __________________________________________________________; that I am

 6    over the age of eighteen years; and that I am not a party to the above-entitled action;

 7         That on _________________ (date), I deposited in the United States m ail, in

 8    envelopes bearing the requisite postage, a copy of:

 9                                   ANSWER OF GARNISHEE

10    addressed to each of the following, at their last known addresses, at which place there

11    is service by United States mail.

12    YAMINA JOHNSON aka YAMINA L. ROLAND
      3749 N. Purdue Avenue
13    Fresno, CA 93727

14    Michael Cosentino
      Counsel for the United States
15    P.O. Box 129
      Alameda, CA 94501
16

17    I have caused, or will cause, the original of the ANSWER OF GARNISHEE to be

18    filed in the United States District Court pursuant to the instruction f or same in

19    paragraph # 3 of the Writ.

20         This Certificate was executed on _____________________ (date),

21    at ________________________ (city), ______________________(state).

22         I certify under penalty of perjury that the foregoing is true and correct.

23

24                                              ________________________________

25
                                          (sign above the line and type or print name below)
26

27

28
